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 4

 5   Attorney for Defendant
     RAJU TOOR
 6

 7                      IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                         )
                Plaintiff,                             )   CASE NO. 1:14-CR-00163-LJO-
10                                                     )   SKO___(002)______
            vs.                                        )
11                                                     )   STIPULATION AND ORDER RE:
                                                       )   CONDITIONS OF RELEASE AND
12                                                     )   ORDER PERMITTING TRAVEL
     RAJU TOOR,
                     Defendant.                        )
13                                                     )
                                                       )
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                    The parties to this stipulation are Grant Rabenn, Assistant U.S. Attorney, for the
16   United States, Ryan Roth, counsel for defendant Raju Toor, and the defendant’s pre-trial services
17   officer, Jacob Scott.
18          It is hereby agreed and stipulated by the parties hereto that defendant Raju Toor shall be
19   permitted to travel to Sandy, Utah for business related training. Mr. Toor has secured a

20   reservation for this professional training and will be traveling from November 23, 2014 to
     November 26, 2014. It is understood that this travel is outside the Eastern District of California.
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     A copy of the travel itinerary has been provided to pre-trial services.
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            All other conditions shall remain in full force and effect. Defendant shall report to pre-
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     trial services within 24 hours of his return to the Eastern District of California.
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          Case 1:14-cr-00163-DAD-BAM Document 27 Filed 11/19/14 Page 2 of 2


 1   IT IS SO STIPLUATED.
 2

 3   DATED: November 19, 2014.                /s/ Grant Rabenn
 4                                            GRANT RABENN
                                              Assistant U.S. Attorney
 5
     IT IS SO STIPLUATED.
 6

 7
     DATED: November 19, 2014.                /s/ Ryan A. Roth
 8
                                              RYAN A. ROTH
 9                                            Attorney for Defendant
                                              Raju Toor
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11                                    ORDER

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     IT IS SO ORDERED.

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        Dated:   November 19, 2014               /s/ Barbara A. McAuliffe     _
15                                         UNITED STATES MAGISTRATE JUDGE

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